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May 16, 2025




The Honorable Justice Blakey
Northern District Federal Court
219 South Dearborn Street
Chicago, IL 60604


Dear Justice Blakey,

My name is Rosemarie Andolino and I have had the pleasure and privilege of knowing
Michael Madigan for over 30 years. Throughout this period, I have only known kindness and
respect from the Speaker, while witnessing firsthand his love for our great city and state. I
appreciate this opportunity to share with you the Michael Madigan that I know.

When I began working in the Department of Planning and Development, I began interacting
with Speaker Madigan on many occasions to discuss developments in the legislative
district that he had served. Whether it was a residential, commercial or industrial
development, he always made time, listened, and would often offer constructive advice.
The only thing he asked in return is that we have community meetings to explain to his
constituents what the development was and how it might impact their lives. Only when
they agreed could you count on the Speaker’s full support.

As Commissioner of the Chicago Department of Aviation, I worked with Speaker Madigan
on many airport issues. No person knew better than the Speaker how important both
O’Hare and Midway International airports were to our region and our country. And with the
Speakers help with the modernization of O’Hare; it remains the nation’s most connected
airport and the major driver in bringing tourism to our region.

I could go on and on and give other examples of working with the Speaker; however, I would
like to share Michael Madigan’s personal side with you. During my time as commissioner,
many stories were written about the airports and me personally. As you may imagine, not
all were flattering, and one was particularly hurtful.

On one of these memorable days, my telephone rang, and it was Speaker Madigan. He took
the time out of his day to call and to tell me how unfair that media story was and that he
was thinking of me. A couple of days later, I received a beautiful note from him letting me
know he was so very proud of me and my accomplishments.

When my husband’s sister passed away from a very difficult and painful cancer, one of the
first calls we received was from Mike Madigan to not only extend his sympathy, but to see if
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Judge Blakey,



I am writing to you on behalf of my long-time friend, Michael Madigan. My name is Anthony
Calderone and I have known Mike for over 20 years. I and my family are the owners and
proprietors of Palermo’s 95th Italian Cuisine, which has been a staple of our neighborhood
and Chicago since 1961. Needless to say, I understand the value of family, community,
friendship and the importance of involved public officials. I believe I have an important
perspective that I hope Your Honor will consider.

My experiences of Mike as a person are very different from those popularly displayed to
most of the public. I have always found Mike to be humble, gracious, circumspect,
unobtrusive, truthful and generous. He always treated not only me, but my staff and other
patrons with an open heart, giving freely of his time and good nature. To me, this is an
important distinction from the public image and one that I think should be considered by
Your Honor in making any further decisions regarding the case.

Along those same lines, I have always found Mike to be both truthful and open. While I
suppose most politicians are seen to some extent as being double-talkers, saying whatever
they need to say to get the job done, this has not been my experience of Mike. In all of my
interactions with him, he has always been direct, honest, and true to his word. I hope this is
another factor that Your Honor will consider.

The story that I think best evokes the true Mike comes from one night when he came to
have dinner at Palermo’s. There was a teenaged young man that was interested in going
into politics and wanted to ask Mike some questions. His family encouraged him to wait, or
at least to be brief. Mike invited this young man to sit with him while he had dinner, and
spent a full hour and a half answering his questions and providing encouragement. To me,
and I hope you will agree, this was an act of character.

I know that the purpose of letters of support is not, and cannot, be requests to relitigate or
reconsider what has already happened in court. My ask is that you consider all of the
positive and good Mike brought to the world as some mitigation for the decisions you make
looking forward.

                                                   Respectfully submitted,



                                                   Anthony Calderone
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March 21st, 2025

To Whom It May Concern

My name is Libby Lai-Bun Chiu, and I am writing this letter to demonstrate the character of Mike
Madigan. I wish to share briefly my professional background, as the basis on which I am writing
this affidavit to support my belief in him.

My work has been in arts and education, in various states, with national and international
experience. I was an early childhood teacher, a coordinator of bilingual services for new
immigrants and refugees, and a school principal, all in the Boston Public Schools. I recently
retired as an Adjunct Professor in Arts Education and International Arts Policy in the Masters
program at Goucher College in Baltimore. Further, I have served in executive positions in
Massachusetts, Illinois, and Indiana. I grew up in Hong Kong, in a family immersed in the arts,
and with parents and siblings in education. My avocation has always been in social justice,
community service, and minority activism. I venture to say that these are the areas to which
Mike has always offered support and advocacy.

When I was recruited in 1998 to Chicago to serve as the Executive Director of Urban Gateways:
Center for Arts Education, I met Shirley and Mike Madigan almost immediately. They welcomed
me into Chicago’s famed arts and arts education community. I was blessed with the Madigans as
my professional mentors and as personal friends.

Over the years, I found that Mike and I had similar intellectual and community interests. I have
had challenging conversations with Mike about literature and history. I remember clearly, for
example, one such conversation. Mike was almost professorial as he educated me on Russian
Literature and Arts. While I was a Literature major in both high school and college, I was under-
educated in Russian genres. Mike shared his learned knowledge on the subject, then analyzed
its historical and contemporary significance in world civilization. He was most patient with my
questions, and my quizzical disputes of his perspectives. We pledged to continue such
discussions, sharing our mutual or dissimilar interests of literature and history, such as China’s
comparative literature and politics. This is the man who is a scholar, and whose intellect is
admirable, with a humility and thoughtfulness to share with and learn from others from
different cultures.

Mike understands and is committed to the moral imperative that we must share resources and
access with those who are less blessed, in particular the young people who are at risk in
education and social services caused by poverty and other inequalities. They are often denied
the opportunities to celebrate their own arts and cultures, as well as those of others. Mike
championed the work of Urban Gateways and other organizations that provide sustained
programs for these populations, not for selfish rewards, simply for the joy radiating from these
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young people’s faces. He does not just believe in these values, he acts upon them, as evidenced
in his presence in the arts and public education communities in Chicago in particular, and
throughout Illinois.

I ask that Judge Blakey considers my affidavit of Mike Madigan as a person whose character and
commitment to service I respect, and gives him the opportunity to continue his positive impact
on the people of Illinois, and on the various communities where I have had the honor to
witness.

Sincerely yours,

Libby Lai-Bun Chiu, former Illinois resident and professional for 25 years
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                                        LEON S. CONLON



PHONE                                                               EMAIL
                                          February 28, 2025

Honorable Robert Blakey
c/o Daniel J. Collins, Esq.
Katten Muchin Rosenman LLP
525 W. Monroe Street
Chicago, IL 60661
Daniel.Collins@Katten.com

Re: Michael J. Madigan


Dear Judge Blakey:

       As a long time member of the Federal Bar, now retired, and as a 60 year friend of
Michael Madigan, I would like to provide some insights into Mike’s character and reputation in
the hope that my personal experience will be useful to you in the disposition of this case.

        I met Mike in September of 1964 when he enrolled in the Loyola University Law School.
I was a second-year law student at that time. Our law school was quite small, especially after the
first year, so all of the students were well acquainted with each other, and we worked together in
close proximity. With a failure rate of more than 50%, the experience was intense, and we
developed a strong bond with all of our fellow students from all three class years.

       I would like to share one carefully guarded secret about Mike from our student days. At
Christmas Time of 1965, we were part of a group that wrote a “Christmas Spirits” type faculty
spoof that we performed at the Germania Club. In the process of writing the parody lyrics for
the show, I discovered that Mike has a wonderful sense of humor, a fact that is not well known.

        In the years that followed, our lives were parallel, if not close. Through many mutual
friends we remained in contact although we never shared in any legal or political activities. I
watched his success in public life with great admiration. It reinforced everything that I knew
firsthand about his work ethic and honesty. Mike is probably the hardest working man I have
ever met, and I highly respect that. When I ran for the Con/Con in 1969 (and lost decisively), I
came to appreciate the rigors of elective office, and I abandoned any thought of ever trying my
hand again at elective office.

       Through middle age, I was modestly successful as a university and hospital lawyer while
Mike became Speaker of the Illinois House, and all of us Loyola Alums looked on with great
admiration. For my account, my middle age was, as with so many lawyers and judges, a gradual
descent into alcoholic drinking. The familiar story of declining skills and failed relationships
culminated in an Intervention conducted by the Lawyers Assistance Program of the Illinois Bar.
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Hon. Robert Blakey
February 28, 2025
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        I was given the opportunity to accept definitive treatment for alcoholism in April of 1990,
and, fortunately, I accepted the help. I completed a rigorous program of inpatient treatment and
supervised aftercare and then returned to private life, but my legal career was a shambles, and I
emerged from treatment lonely and afraid.

       At that time of crisis in my life, Mike Madigan reached out to me and offered me his
help. He helped me look for work, and he helped me reintroduce myself to the legal community.
He didn’t come to my aid because we were close friends, because, as I have said, we weren’t
“close” friends. We weren’t related by blood or by any business attachments. There was
nothing I could do for Mike and no return that he could expect. I couldn’t even vote for him. I
was only an old law school friend who was in deep distress and in need of a helping hand. Of
everything that Mike did on my behalf, the thing I am most grateful for, is the simple act of
friendship, to be seen as a struggling man who was lonely and afraid.

         I am pleased to report that I went on to practice law until I retired in 2013, and I am now
celebrating 35 years of continuous sobriety. Each day has been a blessing, and I owe my happy
life to a loving wife of 58 years, a loving family and to loyal friends like Mike Madigan. He
didn’t have to take time from his demanding career to stop and help me out. He would never
have been criticized for looking the other way and driving by, but he did take the time and effort
to help me up. I believe Mike saw that as the right thing to do, as the proper service of a decent,
caring man.

        I am not revisiting my own frailties in search of praise or sympathy. I only want to offer
my testimony as an insight into the character of a good and generous man, my friend, Mike
Madigan. I hope my insights are useful to you as you carry out the heavy responsibilities of your
office.


                                      Very truly yours,




                                      Leon S. Conlon

LSC
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    Beyond politics and legislating, I became a close confidant and personal friend of Mike, as well as his
wife and family, when I was in the House. I was honored to be asked to be the godfather to his son, Andrew.
In my experience, Mike always demonstrated his total dedication and loyalty to his wife and family. Despite
the strains that being in politics can have on one's personal life, he always found time to be with his family.
He has every reason to be so proud of his wife, his children, and his grandchildren. They reflect the best of
Mike.

    I respectfully request that the Court will take into consideration all of the good that Mike has done
throughout his career and impose as lenient a sentence as possible.

Very truly yours,

Thompson Coburn LLP



John J. Cullerton

JJC/fch




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                         BARBARA GIORGI VELLA




Honorable John Blakey
U.S. District Court
Northern District of Illinois
Dirksen Federal Courthouse
219 South Dearborn
Chicago, Ill. 60604

Re: Michael Madigan

My name is Barbara Giorgi Vella. I am a personal friend of
Michael Madigan and met him through my father “Zeke” Giorgi, who
was a state representative for 29 years and served with Mike
until he died. I am married to Frank Vella and we have three
children. Two are attorneys. We have two grandchildren. I am
an attorney and have practiced for 32 years.

I have known Mike for 40 years. My father had a close
relationship with him as they were both Democrats and my father
was in leadership during his tenure. My father had a great
respect for Mike’s work ethic as he was hard working and
disciplined. They shared a belief that blue collar workers
needed a voice in Springfield.

When persons are in leadership, there is an understanding that
their words matter and that trust must be maintained by keeping
your word. Every decision and agreement cannot not necessarily
be written. My father was the son of Italian immigrants. He
dropped out of high school to support his family, received his
GED in the Army during World War II and went on to serve as a
State Representative for 29 years. He had no illusions about
how important he was and had no hidden agenda. My father’s
word was his bond with his family, constituents and fellow
legislators. I can truthfully say my father acknowledged to me
that he could trust Mike’s word. This mutual trust was the
foundation of their relationship.

My dad and Mike shared both shared a strong belief in family
life. When I spoke to Mike on the phone, we often talked about
our respective families. He wanted to know about my sisters, my
husband, our children, my mother before she died and my nieces
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and nephews. He was proud of his children and how they matured
in their careers, relationships and as parents.

After my father died, I was motivated to keep his memory alive
so I started a scholarship fund at NIU College of Law. Mike
supported me in that and contributed to the fund and encouraged
others to do so. Mike also honored my father in other ways.
He established the Zeke Giorgi Legal Clinic which is housed in
Rockford. It was opened in 2001 and is still operational.

The purpose of the Clinic is to train law students to prepare
for their profession and to help people who need information and
representation for criminal and civil matters. Since March 9,
2001, the Clinic has served 5,506 persons with legal matters.
All services are free of charge. Presently the Clinic is
serving 137 total clients, 102 in criminal defense and 35 in
Civil Justice defense. The Zeke Giorgi Legal Clinic has been
recognized by the Winnebago County Health Department for
leadership in violence prevention, and by the Illinois Bar
Association for Excellence in Legal Education for emphasizing
real world skills for law students. The Clinic also works
closely with the Family Peace Center helping victims of domestic
violence. My father would be proud that the Clinic continues
the work that he supported.    Without Mike’s support and
guidance, this Clinic would not have been available to our
community.

I was approached by the University to honor Mike for his
contributions to NIU. I asked him if he would like this.    He
declined any honors and stated he did this for his friend and
not to honor himself.

Mike has been a wonderful friend to my father and a great friend
to our family. We all miss my father and he is remembered by
the City of Rockford and many people because of the Clinic, the
naming of the State of Illinois building and the naming of part
of Highway 39. Mike spoke the eulogy at his Mass. My father
died in 1993 but many still remember him and his contributions
to the people and the City he loved. I know that Mike helped
him fulfill his mission.   Theirs was a lasting friendship.


                                            Thank you

                                            BARBARA GIORGI VELLA
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                                      Harold J. Hicks



Judge John Robert Blakey
United States District Court
Northern District of Illinois
219 South Dearborn Street
Chicago, Illinois 60604

Dear Judge Blakey:

I write to assist you in your consideration of a proper sentence for Michael J. Madigan.

I have known Mr. Madigan since 1979 when I was hired by his law firm for a clerical
position. As a second-year undergraduate student at Loyola University who aspired to
attend law school, I was grateful for the opportunity to work in a law firm prior to attending
law school. I did realize my dream of becoming an attorney, and the experience of
working in a law firm during my college years was invaluable. I was and am grateful that
Mr. Madigan gave me this opportunity.

Very early on, in the winter of 1979, I experienced Mr. Madigan’s character first hand.
The CTA went on strike in late 1979. Several of us in the law office were talking about it,
and I mused aloud that the Illinois legislature could turn the freeways in Chicago into toll
roads. The tolls could be used to fund public transportation, and everyone would benefit:
With better public transportation, more people would use it; the roads would be less
congested; and the air would be cleaner.

Mr. Madigan’s secretary was part of this conversation. She thought it was a good idea
and said that I should share it with Mr. Madigan. I was reluctant to do so as a 19 year-old
college student. Additionally, it was not my idea; I had seen it in an economics textbook.
Unbeknownst to me, the secretary did share this with Mr. Madigan.

Several weeks later, Mr. Madigan called me into his office. He told me that his secretary
shared this idea with him, he thought that it was a good one and he, in turn, shared it with
the professionals at the appropriate state agencies. Those professionals reported back
to him that this situation would be unworkable because motorists would exit the freeway
before the toll was to be paid and create traffic jams in the neighborhoods.

Nonetheless, he thanked me for this idea. I was very impressed that Mr. Madigan was
and is a person who listens to all, no matter what their station in life is. I observed that
Mr. Madigan treated everyone this way and was and is one of the most honest,
straightforward persons I have ever met. I saw first-hand many instances where he
helped those who requested help and was honest with them when he could not be helpful.

Mr. Madigan is extremely hard-working and always demonstrated the highest moral
values. Please accord him every possible consideration as you see fit.

Very truly yours,


Harold J. Hicks
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                                          Patrick J. Hicks


20 May 2025

Judge John Robert Blakey
United States District Court
Northern District of Illinois
219 South Dearborn Street
Chicago, Illinois, 60604

Dear Judge Blakey:

I am writing to you regarding your consideration of a proper sentence for Mr. Michael J.
Madigan.

My name is Patrick Hicks, and I have just completed my sixth semester at the University of
Illinois at Urbana-Champaign where I am pursuing a bachelor’s degree in accountancy. My
father is Harold J. Hicks, and he worked for Mr. Madigan’s law firm for the vast majority of my
life. I, however, have only had one interaction of substance with Mr. Madigan, which I would
like to recount here.

When I was in the eighth grade, during the 2017-18 school year, I was required by my school to
participate in the National History Day program, whereby I had to conduct historical research
and then create an exhibit, documentary, website, or performance about a historical event that
interested me. There were but two limitations to my project topic: the historical event must have
happened at least twenty-five years ago, and the event must have a connection to Illinois history.
The second limitation no longer exists, but it did when I participated in National History Day.

I have always loved history, so I was much more enthusiastic about this project than most of my
classmates. I also have always had a knack for numbers, hence my study of accountancy.
Leading up to the start of this project in the fall of 2017, the State of Illinois’s budget shortfall,
spurred on mainly by its woefully underfunded pension system, was headline news for years. I
was naturally interested in this issue and the history behind it given my inclinations stated above.
I mentioned this to my father, and he suggested that I look into the 1970 Illinois Constitutional
Convention because the state constitution, which came out of that convention, contains a very
specific provision related to state pensions.

Another reason that my father suggested this topic was because Mr. Madigan served as a
delegate to the Convention, and my father thought that maybe, just maybe, then-House Speaker
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Madigan would take time out of his busy schedule to talk to me about the Convention. I started
researching the Convention in October 2017, and I quickly realized that the project would need
to take a more holistic view of the Convention rather than focus specifically on the pension issue.
Around this time, my father spoke with then-Speaker Madigan, and he agreed to sit down with
me to talk about his experience of the 1970 Illinois Constitutional Convention.

On a Sunday morning in December 2017, my parents drove me to Mr. Madigan’s office near
Midway Airport. Mr. Madigan proceeded to sit down with me, a fourteen year old boy, for
almost two hours talking about his participation in a rare event in state history that happened
almost fifty years prior. I videotaped the interview, and I was also able to interview another
participant of the Convention. Using footage from these two interviews, my research, and other
historical images, I created a ten minute documentary about the Convention. My documentary
was selected as a state finalist at the Illinois History Day competition. It was then chosen as one
of two documentaries from Illinois to compete at the National History Day competition at the
University of Maryland in June 2018.

This accomplishment was incredibly exciting for me, my family, and my school community. Mr.
Madigan generously offered me a significant amount of time out of his busy schedule, and it
made all the difference in the success of my project. Please accord him every possible
consideration as you see fit.

Sincerely,




Patrick J. Hicks
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                                    HOLLAND HICKS LAW




                                          May 2, 2025



Judge John Robert Blakey
United States District Court
Northern District of Illinois
Courtroom 1203
Chambers 1288

Re:    United States v. Madigan, No. 22 CR 115 (N.D. Ill.)

Dear Judge Blakey,

My name is Jeff Holland, and I am writing to the Court in support of Michael J. Madigan. I have
known Mike for over 20 years -first as an employer, then as a mentor, and eventually as a friend.
My professional and personal observations and interactions with Mike reveal a caring,
hardworking man who is deeply devoted to helping others.
I am not a native Chicagoan. I grew up in South Bend, Indiana, attended South Bend St. Joseph
High School and the University of Notre Dame. I moved to Chicago after graduation and worked
for the Cook County Assessor’s Office while earning a law degree at night from John Marshall
Law School. After nine years of working for the County, I accepted a job with the law firm of
Madigan & Getzendanner in 2002 and met Mike Madigan for the first time.
Since then, I have had countless personal interactions with Mike and observed countless more.
What has struck me most in that time is that, without exception, he treated everyone with respect,
honesty and kindness. I would like to give the Court a couple of examples.
A neighbor’s son, who is autistic, was having extreme difficulties finding employment due to some
real and some perceived limitations. I reached out to Mike about this person. This was after the
indictment in this case. Despite the timing, Mike went well beyond advice and helped secure a
spot for the individual in a training/employment program. Further, Mike has continued to follow
up and check on the individual’s progress despite having no personal connection. The only reason
he did this was to help someone in need. Mike has done this countless times for others. That is
who he is.
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                                     HOLLAND HICKS LAW


Judge Blakey
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A more personal example, my father was coming to Chicago for a surgery that had me and my
family a bit emotional and very concerned. Beyond the standard (but appreciated) words of
comfort that most would provide, (including me), Mike “researched” the surgeon and reported
back to me with reassuring facts about the surgeon and hospital. It still strikes as me as above and
beyond and a testament to his goodness.
There has been a lot of negative things said about Mike in the media. This is in complete contrast
to the person I have known for over 20 years. He is nothing like he is portrayed in the local
tabloids. Mike and his family have already endured tremendous suffering and his public reputation
compromised. I hope justice will allow consideration of his lifetime of service and selfless actions
for others. I ask the Court to please keep that in mind when making its decision.
Respectfully,


Jeff Holland
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                              John Leonard Huﬀ



                                   May 15, 2025

Honorable John Robert Blakey
United States District Court,
  Northern District of Illinois
219 South Dearborn Street, Suite 1288
Chicago, Illinois 60604-1702

      Re: United States v. Michael Madigan

Dear Judge Blakey,

       I have been an attorney for more than ﬁfty years and served as an associate
judge in the circuit court of Cook County, Illinois for more than thirteen years of
them. My assignment, at my request, was in the Juvenile Division where I heard
child abuse, neglect and dependency cases from April 2009 until retirement in
January 2022. It was the most rewarding work of my professional life.

      I was given this opportunity as the result of support and advocacy from many
members of the Illinois Bar including my then partners at Huﬀ & Gaines and my
former partners at Winston & Strawn, many lawyers and clients with whom I had
contact as a trial lawyer, and federal and state judges.

        In addition, I received the support of Illinois House Speaker Michael J.
Madigan, who sent a letter supporting my candidacy to the circuit judges who voted
in the 2008 associate judge election. Prior to that time, I had not met Mr. Madigan;
his law partner and my friend, Bud Getzendanner, introduced us. Mr. Madigan sent
his letter after considering my education at Georgetown University Law Center, my
professional experience which began as a judicial law clerk in the Northern District
of Illinois, as well as my community service; and, signiﬁcantly, despite the fact that
I was a Republican. I believe he did so in order to promote a balanced state court
bench in Cook County.
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       Over the years following my election, I had the opportunity to greet Mr.
Madigan at various receptions and functions. Each time, he inquired how I was
doing and he thanked me for my juvenile court service. He was always
straightforward and sincere. Needless to say, I am deeply grateful to Mr. Madigan
for his unbiased support in helping me achieve my professional goal to serve our
community as a judge.

      Judge Blakey, none of us is perfect. We all make mistakes which we regret.
When you weigh your decision in Michael Madigan’s case, I ask you to give
consideration of all his good works for so many years as an attorney, as a legislator,
and as a private citizen.

      Thank you for your service and for your consideration in this matter.

                                              Sincerely,


                                              John L. Huﬀ
                                              Associate Judge (Ret.)
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Dear Judge Blakey -

My name is Diane Goldstick Meagher. I am a 63-year-old woman, growing up in
Illinois. I was raised by my mom, a homemaker and my dad, an attorney, both of whom have been
wonderful parents. I have lived in the City of Chicago since 1986 and currently reside in Lakeview. I
have been married for almost 25 years and have one son. I am a person with high standards and
value my own integrity as well as the integrity of those around me.

I have known Michael Madigan for over 50 years. I met the Madigan Family as a young child at
Wrigley Field. The Madigan family sat behind us at the ballpark and from that time a friendship
which I would describe as extended family was born. Michael has watched me grow up and has
been a supportive and influential person in my life. He has set so many positive examples for me
through his commitment to family and friends and always through a dedication to his work and
efforts to make positive changes for those around him, which includes me. We have shared happy
times and sad times over so many years including baptisms, first communions, bar mitzvahs,
weddings and funerals. The underlying theme for me is that Michael has always been there for my
family and me. Always.

I have watched Michael as a husband and a parent, and I have always respected him for his
dedication as both over many years. While Michael's own childhood was less than ideal, I have
seen firsthand how important it has been to him to give his children the very best opportunity to live
healthy, fulfilling lives physically and emotionally while always feeling loved. Michael has also been
a wonderful husband to his wife Shirley. I have admired and respected their marriage for almost 50
years. He has strong positive values and exceptional integrity and he has always been empathic to
me, friends and others in his community and his work. I admire these qualities and have had the
opportunity to observe them over many years.

Something that has always resonated with me has been Michael's dedicated to raising all of his
children and particularly his son Andrew. As a child Andrew had learning challenges which required
patience and dedication from both of his parents. Michael drove Andrew to school on the north
side of Chicago nearly every morning before 7:00 a.m. to receive additional and necessary support
at school. That memory has always stuck with me and I always aspired to have the same
dedication as a parent.

Michael Madigan is a wonderful man. He is loyal and caring, and I have always been able to depend
on him and our friendship all of my life. My life is truly better for knowing him.

Judge Blakey, I would appreciate your consideration when you are determining a sentence for
Michael Madigan. As you are aware, he will be 83 in April and I truly believe that Shirley needs him
to be present for health reasons of her own. I also believe that he needs to be with Shirley in this
advanced stage of life. As you may be aware Michael has four grandchildren and has
responsibilities for two of them during the week. A disruption to this routine would potentially affect
the mental health of the children as I am sure they look forward to being picked up at school by
Michael on certain days and they depend on this routine with him.
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Thank you for reading my letter. I hope it has provided insight into who Michael is as a person and
how positively he has impacted my life and many others. He is and has been a most important
person in my life.

I appreciate your time and consideration. Please let me know if you have any questions. I can be
reached at

Diane Goldstick Meagher
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       Dear Judge Blakey, Thank you for this opportunity to tell you of my esteem

for Michael Madigan.

      I became acquainted with Michael in the late 1980s, at the beginning of my

long career in arts administration. I worked at the Illinois Arts Council, the agency

I eventually led as Executive Director and as Chair. I admired and appreciated

Michael’s steadfast support for arts funding here in Chicago and across all of

Illinois. Eventually, my job responsibilities involved testifying at legislative

budgetary hearings. Despite his very busy schedule, Michael was always generous

with his time, offering thoughtful and deft advice on how to approach what were

for me—at least initially—intimidating occasions.

      However, when I think about what Michael’s kindness and friendship really

means to me, my thoughts stray far from Springfield, government, and career. I

came to Chicago in 1959 as a young bride, from the small city of Fall River,

Massachusetts, where I was born and raised. With its shuttered mills and

abandoned factories, my New England hometown was a world away from the Near

North side, where my husband and I rented our first apartment. Having spent all

the ensuing decades since in the city and on the North Shore, it’s only rarely that

am I reminded that I’m not a native. However, there have been painful times when

that fact catches me short, causing sadness and feelings of being very far away

from home. I’m thinking in particular of the death of first my father and then my
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mother—both still back in Fall River, and later of my beloved husband Daniel M.

Pierce of Highland Park.

On those occasions Michael Madigan’s friendship has been tremendously

meaningful to me. The kindness he and his family extended to me – phone calls

and notes just to check in on me while I grieved, care packages of food and

flowers, invitations to spend evenings with them, all lifted my spirits and

telegraphed love during these periods of great loss.

That thoughtfulness and compassion meant the world to me and in my opinion

defines who Michael is. These qualities are most evident in the care he provides for

his wife Shirley, who is 82 years old, in poor health and very dependent on him. I

am glad to share my feelings with you and pray that you’ll consider them when

determining his sentence.




Sincerely,

Rhoda A. Pierce
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                          RICHARD J. PRENDERGAST

                                           May 2, 2025
The Honorable John Robert Blakey
U.S. District Court
219 South Dearborn Street
Chicago, IL 60604

Dear Judge Blakey:


       This letter is respectfully submitted for the Court’s consideration in connection with the

pending sentencing proceedings concerning Michael J. Madigan. In that regard, my only purpose

is to share with Your Honor, as an officer of the Court, some of my own first-hand interactions

with Mr. Madigan over the years.

       By way of introduction, I have been a member of the Illinois bar for over 50 years, and

have been admitted to practice before the Supreme Court of the United States and various U.S.

Courts of Appeal and U.S. District Courts. I am also a former President of the Chicago Bar

Association (“CBA”), a recipient of the CBA’s John Paul Stevens Award, and a duly elected fellow

of a number of peer review trial lawyer and appellate lawyer organizations, including the American

College of Trial Lawyers, the International Academy of Trial Lawyers and other similar

organizations. I detail these career recognitions to underscore that, as a long-time and active

member of the legal community, I take seriously any representation to this Court regarding Mr.

Madigan or otherwise.

       I first met Michael Madigan when we were both law students at Loyola School of Law

(although our association at that time was quite limited since we were not classmates). It was not

until years later that I came to know him well, having been asked to work on behalf of the Illinois




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State Democratic Party in the management of reapportionment (re-districting) litigation in Illinois

at the state and federal levels.

        The early reapportionment cases led to other redistricting litigation four years later and,

again, in subsequent years. Because those engagements involved a mixture of political issues and

constitutional law, I had the opportunity to engage in a unique field of law driven by both politics

and constitutional law considerations. That experience eventually led to my becoming involved in

the field of lobbying, partly but not exclusively in relation to reapportionment work. In due course

over the years, I have had contact with Illinois legislators from both political parties, including Mr.

Madigan and other Democratic Party leaders in the Illinois Senate and the Illinois House of

Representatives.

        In the course of the foregoing engagements and experiences, I have come to know Michael

Madigan quite well. I have had many opportunities to meet with him and his staff professionally

at his offices in Springfield and Chicago, and have witnessed firsthand the time and effort he has

selflessly given in the service of his constituents to this end. Indeed, if I were asked to describe

Michael Madigan at his core, it would be that he has consistently demonstrated that he has been a

dedicated public servant that endeavored to protect the best interests of those whom he was elected

to serve, whether at the legislative level or in the interests of the public at large.

        Purely by way of example, I recall one experience in particular. Many years ago, a

secretary then employed at the district office on Chicago’s southwest side was summoned to appear

for an interview at the U.S. Attorney’s office. I represented her at that meeting and, before long,

it was apparent that the point of the interview was to determine whether she had obtained her

position in return for political work. The interview did not last long. When asked how she got her

job the witness explained that she had been an unemployed secretary when she met another person



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in the check cashing line at a local Jewel supermarket. The two began talking and the witness

mentioned to the other person in line that she was out of work and in search of an office secretarial

position. Her new acquaintance suggested that she apply for a position at Mr. Madigan’s local

district office. She did so and was hired. When asked whether she or any member of her family

had been actively involved in local politics, she confirmed that had not been the case. With that,

the interview ended. This may sound like a trivial event, but it was anything but. The witness was

hired to work at Mr. Madigan’s local office without requiring any pledge of political loyalty or any

commitment to perform political work, which obviously was the unspoken purpose of the

government’s inquiry from the outset.

       That is not to say that political considerations were never involved in various day-to-day

decisions; but it does suggest that day-to-day decisions concerning matters of a public nature were

not necessarily driven by some litmus test. To the contrary, the driving force was the best interests

of the public at large. In my experience public service considerations have consistently been the

driving force in the discharge of Mr. Madigan’s responsibilities.

       Lastly, I would be remiss if I did not address Michael Madigan’s qualities as a husband and

a parent. It might be expected that an elected office holder with the political prominence and

responsibilities that he undertook over his many years of public service might fall short in fully

discharging his family responsibilities. Not so with Mr. Madigan. I have had the opportunity to

observe and interact with his daughter Lisa as she so professionally discharged her duties as the

Attorney General of Illinois. And since his son Andrew attended high school with my own son, I

also came to know and observe Andrew. Both have grown to be accomplished professionals in

their own rights, a testament to parents who did not allow their public lives to negatively impact

their important responsibilities at home.



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       In the course of my legal career, through my political/legislative experiences and my

personal interactions, I have been privileged to know and work with my share of attorneys and

political figures and to witness their actions as public servants.    Michael Madigan, in my

experience and judgment, has consistently put public service and family first.         I strongly

recommend that Mr. Madigan’s years of public service, as well as his commitment to constituents

and family, be weighed heavily in his favor in connection with the Court’s sentencing decision.



Respectfully submitted,

/s/ Richard Prendergast

Richard Prendergast




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February 7th, 2025

To Judge Blakey and the court,

My name is Maria Veronica Reynoso, I am 54 years old and have been a U.S. resident for almost 4
years now. Due to my husband's work we had the great honor of knowing Michael J. Madigan on a
personal level.

Mr. Madigan is a very community oriented person. In a time where my immigration status seemed
dire, he stood up for me. He willingly went out of his way and wrote a letter to USCIS to help me
obtain my residency. Now, I am willfully writing this because we know him as a great community
man who stands up for us, his community. He listens and helps out the community as a good
public servant should. When we had complained to our alderman that our alley was in disarray, we
were ignored for years. He stood up for us and in a month the alley was repaired. A public servant
who actually listens, helps, and responds to his community is a great man.

Thank you for the time.



Sincerely,




Maria Veronica Reynoso
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